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                                                                            July 11, 2025
VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101
         Re:       Khalil v. Trump, et al., No. 25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        Petitioner Mahmoud Khalil respectfully submits this letter in response to the Court’s July 9,
2025 Text Order, ECF 344, directing Petitioner to address two questions. First, the Court’s preliminary
injunction of June 11 requires the immigration judge (“IJ”) to reverse, vacate, or amend her decision
finding Petitioner removable based on the Secretary of State’s determination (and any other orders
that effectuate or further proceedings seeking to remove Petitioner on that basis). Second, the
injunction bars the IJ from relying on that determination to deny Petitioner’s requests for relief from
removal. Finally, the injunction also requires Respondent DHS to formally withdraw (without
prejudice) its reliance on the determination and the charge that this court enjoined.

         After holding that Respondents’ application of INA § 237(a)(4)(C) to Petitioner was likely
unconstitutional, causing Petitioner a range of irreparable harms, ECF 272 at 101, this Court ordered
on June 11 that “Respondents are preliminarily enjoined from seeking to remove the Petitioner from
the United States based on the Secretary of State’s determination.” ECF 299 at 12-13. Even though
Petitioner’s immigration counsel notified the IJ of that injunction, including by Motion to Reconsider,
filed on June 17, ECF 312-3 at 20-24, the IJ nevertheless issued a written decision and order on June
20 finding Mr. Khalil removable based on the Secretary of State’s determination.1 ECF 333 at 4-5. The
IJ also found Mr. Khalil “barred from asylum,” relying on the enjoined determination, id. at 20-21,
and, although the IJ sustained the alleged misrepresentation ground of removability, id. at 5-9, the IJ
did not set an evidentiary hearing on his request for a waiver of that charge pursuant to INA §
237(a)(1)(H).2 Having previously outlined the rest of the relevant background, see ECF 332, 341,
Petitioner answers the Court’s questions in turn.

            I.     The Court’s preliminary injunction requires the immigration judge to reverse
                   or vacate her decision that Petitioner is removable under INA § 237(a)(4)(C).

1          On June 27, Respondent DHS opposed Mr. Khalil’s June 17 Motion to Reconsider, arguing that this Court’s
preliminary injunction “neither renders the Secretary of State’s determination invalid or ineffective” and “does not
materially impact the [Immigration] Court’s removability determination.” Ex. A, DHS Opp’n to Mot. to Recons. at 3. The
IJ denied the motion on the same day, by order served on Mr. Khalil’s immigration counsel days later, on June 30. ECF
332-2 at 1, 2. Also on June 27, Respondents communicated to Petitioner their view that the Court only preliminarily
enjoined “actual physical removal from the United States” and that nothing in the order prevents them from “continuing
to litigate the removability charge [based on the Secretary of State’s determination].” ECF 332-3.
2          Petitioner’s immigration counsel requested an evidentiary hearing to pursue the 237(a)(1)(H) waiver several times,
orally and in writing, in the event that the IJ sustained the alleged misrepresentation charge. See, e.g., Audio Recording of
Immigration Hearing (Apr. 11, 2025); Application for Immigration Relief at 1 (Apr. 23, 2025). Nothing further is required
for the IJ to schedule the evidentiary hearing on the waiver. See Decl. of Kerry E. Doyle, ECF 345-7 at ¶ 10 (July 9, 2025);
ECF 343 at n.3.
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         When this Court preliminarily enjoined Respondents from detaining or seeking to deport
Petitioner based on the Secretary of State’s determination, it also held that “Respondents can have
little or no interest in applying the relevant underlying statutes in what is likely an unconstitutional
way.” ECF 299 at 11. Any use of the likely unconstitutional determination by Respondents—be they
DHS or the Attorney General—to establish Petitioner’s removability is impermissible and would
perpetuate the same irreparable injuries for which the preliminary injunction was sought and issued to
remediate.

        The text of the Court’s order supports this plain understanding of its thrust. By finding
Petitioner removable based on the Secretary of State’s determination, the IJ is “seeking to remove the
Petitioner” based on that same determination, in violation of this Court’s preliminary injunction. The
IJ must, therefore, reverse, vacate, or amend her decision, in keeping with this Court’s order. There is
no question that the IJ is subject to the order. The IJ wields authority derived from—and answers
to—Attorney General Pam Bondi, a respondent in this matter. See Third Am. Pet. § 15, ECF 236
(naming Attorney General as respondent and citing 8 U.S.C. § 1103(g), vesting Attorney General with
immigration-related authorities and functions and empowering them to “delegate such authority”); 8
U.S.C. § 1101(b)(4) (defining “immigration judge” as an employee of the Executive Office for
Immigration Review, or EOIR, a component of the Justice Department, appointed by—and subject
to the supervision and direction of—the Attorney General). The plain terms of the order prohibit
Respondents from attempting or endeavoring to effect Petitioner’s removal. Notwithstanding
Respondents’ argument, “seeking to remove” does not mean the same thing as “remove.” This phrase
encompasses the full spectrum of efforts that precede and are distinct from the final action or outcome
of removal itself. It precludes any DHS pursuit of removal based on the Secretary of State’s
determination as well as the IJ’s consideration of the determination. See, e.g., ECF 299 at 2 (“The
Department of Homeland Security is seeking to remove him from the United States on two
grounds.”); Oral Arg. Tr. at 5:4-8 (June 20, 2025) (“What happened a week ago [is] . . . I preliminarily
enjoined . . . efforts to remove as to the Secretary of State’s determination as to the petitioner here.”).

         This Court’s separate, earlier order enjoining removal also contradicts Respondents’ position.
On March 19, the Court ordered that “Petitioner shall not be removed from the United States, unless
and until the Court issues a contrary order.” ECF 81. That order still holds today and needs no
repetition. Were this Court’s preliminary injunction as narrow as Respondents contend, it would be a
redundant order and would not remedy the ongoing irreparable harms flowing from the Secretary of
State’s determination. Equally unavailing is Respondents’ contention that the Court’s preliminary
injunction “is prospective” only. ECF 332-3. The Court issued its preliminary injunction on June 11,
before the immigration judge rendered her final, administratively appealable June 20 decision and order
finding Petitioner removable and denying him relief based on the Secretary of State’s determination.
And even if the operative removability finding relying on the enjoined charge somehow were the one
that the IJ made from the bench in April, as Respondents seem to intimate, id., the IJ was bound to
revisit that interim ruling, consistent with this Court’s preliminary injunction, before issuing a final
order.3 Giving the IJ’s decision any continuing effect amounts to Respondents unlawfully seeking to
remove Petitioner based on the Secretary of State’s determination, and applying INA § 237(a)(4)(C)
in a likely-unconstitutional and enjoined manner.


3        The immigration judge retains broad discretion to reconsider her prior rulings, sua sponte or by motion of either
party. INA § 240(c)(6)(C); 8 C.F.R. § 1003.23(b)(2).

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        Requiring the IJ’s full and immediate compliance with this Court’s preliminary injunction is
appropriate and necessary to remedy the irreparable harms flowing from the Secretary of State’s
determination. Federal district courts exercising habeas jurisdiction enjoy broad authority over
immigration judges. See, e.g., German Santos v. Warden Pike Cnty. Corr. Facility, 965 F.3d 203, 214 (3d Cir.
2020) (remanding habeas suit with instructions for district court to order immigration judges to redo
bond hearing and place burden of proof on government); Smith v. Ogle, 21-CV-1129, 2023 WL
3369154, at *7 (M.D. Pa. Jan. 3, 2023) (ordering that “immigration judge conduct a bond hearing in
accordance with Santos”), report and recommendation adopted, 21-CV-1129, 2023 WL 3362597 (M.D. Pa.
May 10, 2023); Angel A.A. v. Edwards, 19-CV-9135, 2022 WL 4001247, at *1 (D.N.J. Mar. 22, 2022)
(ordering “that an Immigration Judge shall provide Petitioner with an individualized bond hearing” in
accordance with district court’s opinion); Onosamba-Ohindo v. Barr, 483 F. Supp. 3d 159, 178 (W.D.N.Y.
2020) (ordering immigration judges in Buffalo to reconsider class members’ bond hearings with several
additional procedural protections after district court dismissed all defendants other than immediate
custodian); Franco-Gonzalez v. Holder, 10-CV-02211, 2014 WL 5475097, at *6 (C.D. Cal. Oct. 29, 2014)
(ordering among other things that immigration judges conduct competency inquiries to determine if
class members are competent to represent themselves in removal proceedings).

        In sum, because her decision impermissibly seeks to remove Mr. Khalil based on the Secretary
of State’s determination, which this Court foreclosed as presumptively unconstitutional, the IJ must
reverse, vacate, or amend her decision.

         II.    The immigration judge may not rely on the Secretary of State’s determination
                to deny Petitioner asylum and a hearing for a waiver per INA § 237(a)(1)(H).

        The Court’s preliminary injunction also necessarily bars the IJ from relying on the Secretary
of State’s determination to deny Petitioner’s requests for relief from removal. It cannot logically follow
that Respondents would be preliminarily enjoined from “seeking to remove” Petitioner based on the
Secretary of State’s determination yet would be allowed to deny Petitioner relief from removal on that
same basis. A noncitizen in removal proceedings is not subject to an administrative order of removal
until they are found removable and deemed ineligible for, or denied, any form of claimed relief from
removal. INA § 240(c)(4). Both conditions must be met when “seeking to remove” a noncitizen from
the United States. Therefore, this Court’s preliminary injunction bars the Attorney General—and, by
extension, the IJ—both from finding Petitioner removable based on the Secretary of State’s
determination and from denying Petitioner relief from removal on that same basis.

        It is irrelevant that the IJ offered an alternative ground for asylum denial, ECF 333 at 21-33—
the upshot of this Court’s order is that the preliminarily enjoined Secretary of State’s determination
cannot form any part of the decision to deny Petitioner’s asylum claim at all. The IJ is free to base the
asylum decision on an alternative ground, so long as the IJ complies with this Court’s preliminary
injunction. Similarly, since the IJ has refrained from scheduling the evidentiary hearing Petitioner is
entitled to on the 237(a)(1)(H) waiver of the misrepresentation charge because she has found him
removable based on the Secretary of State’s determination, her decision regarding the waiver hearing
also runs afoul of this Court’s order.

        Respondents’ misinterpretation of this Court’s order renders this Court’s clear injunction
ineffectual or, at best, redundant. They strain the plain meaning of the Court’s words so that their
removal case can move forward as they see fit, to finality before the Board of Immigration Appeals
(“BIA”), with the enjoined charge intact. See Oral Arg. Tr. 36:22-23 (June 20, 2025) (“THE COURT:
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There are two charges here and one of them has been enjoined.”); ECF 332-3 (noting Respondents’
intention to “continu[e] to litigate the [enjoined] removability charge through the normal course of
removal proceedings (that is, before the Board of Immigration Appeals)”).

         Adopting Respondents’ reading of the Court’s preliminary injunction would deprive Mr.
Khalil of the opportunity to seek a waiver of the remaining misrepresentation charge and unfairly
force him to continue to litigate and defend against the charge that this Court enjoined in removal
proceedings, including before the BIA. This Court reasoned it had jurisdiction to consider Petitioner’s
motion for preliminary relief because “claimants ‘will lose their rights not to undergo the complained-
of agency proceedings if they cannot assert those rights until the proceedings are over.’ . . . So too
here.” ECF 214 at 99 (quoting Axon Enter v. FTC, 598 U.S. 175, 192 (2023)). Respondents’
interpretation of the order also saddles Petitioner with the very same continuing irreparable harms
that this Court recognized and remedied by preliminarily enjoining Respondents from seeking to
remove Petitioner based on the Secretary of State’s determination. Indeed, Petitioner continues to
suffer damaged career prospects, reputational injury, and chilled speech, all flowing from the Secretary
of State’s determination, as long as it remains in play in ongoing removal proceedings, ECF 299 at 4-
10, and “even if the Petitioner [is] not detained,” id. at 10 n.11. The only remedy for these ongoing
injuries would be for Respondents to give this Court’s preliminary injunction the full and immediate
effect it is owed (as they continue to seek its reversal on appeal).4

         To that end, the Court should enter an order compelling Respondents to comply with its
preliminary injunction as follows: (1) By July 18, the IJ must reverse, vacate, or remand her decision,
or issue a superseding decision, consistent with the preliminary injunction, such that the decision
neither considers nor bases any findings on the Secretary of State’s determination;5 (2) the IJ may not
deny Petitioner relief from removal based on the Secretary of State’s determination and must permit
Petitioner to seek all forms of relief that would have been available to him had he not been found
removable based on the Secretary of State’s determination, including by scheduling the evidentiary
hearing Petitioner has requested in connection with the waiver under INA § 237(a)(1)(H);6 and (3)
DHS must formally notify the IJ in writing that it no longer seeks to remove Petitioner based on the
Secretary of State’s determination under INA § 237(a)(4)(C)(i) and that it withdraws the memorandum
reflecting the Secretary of State’s determination as an exhibit in support of its removal case.7 The
Court has the inherent power to enforce its own orders. See, e.g., E.O.H.C. v. Sec’y United States Dep’t of
Homeland Sec., 950 F.3d 177, 194 (3d Cir. 2020); see also Gregris v. Edberg, 645 F. Supp. 1153, 1157 (W.D.
Pa. 1986), aff’d, 826 F.2d 1055 (3d Cir. 1987); Fed. R. Civ. P. 62(c), (d).

4         Should the Third Circuit reverse this Court’s preliminary injunction, then that would be no different from
countless removal cases. The IJ would reopen proceedings or the BIA would either remand to the IJ for further
proceedings in line with the Third Circuit decision, or reinstate the enjoined ground, depending on where proceedings
stand at that point.
5         If the June 20 IJ decision is not corrected by July 18, Petitioner’s timely notice of appeal to the BIA would divest
the IJ of jurisdiction. See ECF 343 at 2. Petitioner intends to notice his appeal by Sunday, July 20, to not risk filing on the
very last day, Monday, July 21. Should the IJ require more time to rewrite her decision, all she must do by July 18 is vacate
her decision and schedule the waiver hearing on a later date. No administrative appeal would then be necessary.
6         If the evidentiary hearing results in the IJ granting the waiver, then, between that decision and this Court’s
preliminary injunction barring reliance on the Secretary of State’s determination, there would be no removal order against
Mr. Khalil. On the other hand, if the IJ denies the waiver, then Mr. Khalil would appeal the sustained misrepresentation
charge to the BIA (unless it was separately enjoined by this Court, of course). Either way, the enjoined foreign policy
charge under INA § 237(a)(4)(C) and the Secretary of State’s determination should not be in the picture, in keeping with
this Court’s binding order.
7         Respondent DHS is equally bound by this Court’s preliminary injunction.

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                                                     Respectfully submitted,

                                                     s/ Naz Ahmad

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